IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF NORTH CAROLINA

 

United States of America,
No. 1:12-cv-1349
Plaintiff;

Vv.

Terry S. Johnson, in his official capacity as
Alamance County Sheriff,

Defendant.

 

EXHIBIT 6

Case 1:12-cv-01349-TDS-JLW Document 86-24 Filed 03/02/14 Page 1of6
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in The General Court Of Justice District Court Division

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STATE OF NORTH CAROLINA - County

 

 

 
    

 

 

  
  

 

 

 

 

 

 

 

 

 

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NORTH CAROLINA UNIFORM CITATION.

 

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THE STATE OF NORTH CAROLINA VS. _

 

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Name And Telephone No. Of Defendant's Employer

 

Date Of Arrest & Check Digit No. (As Shown On Fingerprint Card)

 

 

| ACKNOWLEDGMENT/NONRESIDENT PERSONAL RECOGNIZANCE FOR APPEARANCI

 

 

{ acknowledge recaipt of this Citation [_] and | promise to appear in the named court at
the time and place designated herein to answer the charge(s). | understand that my
failure to appear or to dispose of this Citation by other acceptable legal means, such as
waiver, will result in my operator's license Issued by my state of residence being
suspended until | have done so. Also, | may go before a magistrate and make bait in liew
of my personal recognizance.

  

 

Date Signature Of Defendant

 

 

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CL 17. And on or about the date

robable cause to beji ve that on or abgut, S
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StS L\_, in the named county, thé named defendant did unlawfully and
will ty operate a (motor) vehicle on a (street or highway) (pablicvahiculac area)
C1 {Zt ata speed of "SS MPH ina Gs" MPH’ [SKzone. G.S. 20-141,
77. (] work zone. G.S.20-141(j2). 88. [J schoot zone. G.S. 20-141.1.

(7 2.1n forward motion withaut having ihe provided seat belt properly fastened about
the defendant's body. G.S. 20-135.2A. 7

Q 3. By transporting a passenger of less than 16 years of age without having the
passenger in a (weight appropriate child passenger restraint system) (seat
belt). G.S. 20-137. 1.

{-] 4. By transporting a child of less than five years of age and less than 40
pounds in weight without the child being secured in {he rear seat, when the vehicle

was equipped with an aclive passenger-side front air bag and the vehicle had a rear i
seat. G.S. 20-137.1(a1). ce oe 2

(] 5. While subject to an impairing substance. G.S. 20-138.1.

[[] 6. Without being licensed as a driver by the Division of Motor Vehicles of North
Carolina, G.S. 20-7(a). Bt

[J 7. While the defendant's drivers licanse was revoked. G.S, 20-28.

(11 8. While displaying an expired registration piate on the vehicle knowing the same
to be expired. G.S. 20-414(2}. ‘ ‘

[1] 9. Without displaying thereon a current-approved inspection certificate, such
vehicle requiring registeation in North Carolina. G.S. 20-183.8.

Month Expired & Rae

Oo 10. By failing to see before (starting) (stopping) (turning from a direct line) that such,
movement could be made in safsty, G.S. 20-184, e

(1 11. By failing to stop at a duly:erected (stop sign) (flashing red light).

G.S. 20-158(b)(1), (b)(3). / —

(J 12. By entering an intersection while a*steady-beam traffic signal was emitting a
ted light for traffic in defendant's direction of travel. G.S. 20-158(b)(2).

(J 13. Without having in full force and effect the financial responsibility required by
GS, 20-313? The defendant was the owner of the motor vehicle that was
{registered} (required to ba registered) in this State. G.S, 20-313.

(] 14. (Possess'an open container of) (Consume) an alcoholic beverage in the
passenger. area of a motor vehicle..G.S. 20-138.7(a1). [NOTE: Strike “operate a
{motor} vehicle” and "(public vehicular area)" above.)

L} 15, Without decreasing speed as necessary to avoid colliding with a (vehicle)
(person). G.S. 20-14 4(m).

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Case 1:12-cv-01349-TDS-JLW Document 86-24 Filed 03/02/14 Page 2 of 6
ALAMANCE COUNTY CLERK OF COURT

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Case 1:12-cv-01349-TDS-JLW Document 86-24 Filed 03/02/14 Page 3 of 6
 

 

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Case 1:12-cv-01349-TDS-JLW Document 86-24 Filed 03/02/14 Page 4 of 6

 
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ict Court Division C -STATE OF NORTH CAROLINA Lema anes County

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

        
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

  

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

    

 

 

 

 

    

 

 

 

 

 

 

 

 

          

 

 

  
 

 

 

 

 

 

 

       

 

 

 

         

 

 

 

 

 

 

 

 

 

 

     

 

 

 

 

 

 

 

          

 

 

 

 

 

 

 

 

 

 

 

      

    

 

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TH] 3 . lage = = 3 Ss S 6 8 : - - Circular light for traffic in defendant's direction of travel. G.S, 20-188(b)(2).
Q 8 > 4 g g ge & s 5 2 § 3 gy Vehicle License No. State (] 13. Without having in full force and effect the financial responsibility required by
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11838 10 eee 3 gu. $ € 2 8. 2s. e . 1 passenger area of a motor vehicle. G.S. 20-138.7(a1). [NOTE: Strike "operate a
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Case 1:12-cv-01349-TDS-JLW Document 86-24 Filed 03/02/14 Page 5 of 6
ALAMANCE COUNTY CLERK OF COURT

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Case 1:12-cv-01349-TDS-JLW Document 86-24 Filed 03/02/14 Page 6 of 6
